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‘UNITED STATES DISTRICT COURT
- MIDDLE DISTRICT OF PENNSYLVANIA.__

UNITED STATES OF AMERICA =: CR. NO. 3:23-CR- | 4S

 

FILED
oe ; Gudge SCRANTON
DAWN TROTTA, > (electronically filed) MAY 30 2023.
oO : Defendant : .
PER _
PLEA AGREEMENT peru

The following Plea Agreement is entered by the United States
Attorney for the Middle District of Pennsylvania and the above- » .
captioned defendant. Any reference to the United States or to the

- Government in this Agreement shall mean the Office of the United *
States Attorney for the Middle District of Pennsylvania.’
_ A. Violation(), Penalties, and Dismissal of Other Counts
os 1. Waiver of Indictment/Plea of Guilty. The defendant agrees to
waive indictment by a grand jury and plead guilty to a felony
Information, which will be filed against the defendant by the
United States Attorney for the Middle District of Pennsylvania.
That Information will charge the defendant with a violation of
Title 18, United States Code, § 371, Conspiracy to Commit Theft

of Major Artwork, Concealment and Disposal of Major Artwork,

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and Interstate Transportation of Stolen Property. The |
maximum penalty for that offense is imprisonment for a period
of five years, a fine of $250,000, a maximum term of supervised
. release of three years, to be determined by the Court, which
shall be served at the conclusion of and in addition to any term °
of imprisonment, the costs of prosecution, denial of certain
federal benefits, and an assessment in the amount of $100. At
the time the guilty plea is entered, the defendant shall admit to
the Court that the defendant is, in fact, guilty of the offenses
charged in the Information. The defendant agrees that the.
United States may, at its sole election, reinstate any dismissed
charges or seek additional charges in the event that any guilty
plea entered or sentence imposed pursuant to this Agreement is
subsequently vacated, set aside, or invalidated by any Court.
The defendant further agrees to waive any defenses to
reinstatement of those charges, or the filing of additional
charges, based upon laches, the assertion of speedy trial rights, .

any applicable statute of limitations, or any other ground. The
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calculation of time under the Speedy Trial Act for when trial

must commence is tolled as of the date of the defendant’s
signing of this Agreement, until either (a) the defendant pleads
guilty; or (b) a new date is set by the Court for commencement
of trial.

2. Venue Waiver: The defendant agrees to knowingly waive the
right to challenge venue over the charged offense in the United
States District Court for the Middle District of Pennsylvania.

3. Term of Supervised Release. The defendant also understands
that the Court may impose a term of supervised release
following any sentence of imprisonment. exceeding one year, or

. when required by statute. The Court may require a term of
supervised release in any other case. In addition, the defendant
understands that as a condition of any term of supervised
release or probation, the Court must order that the defendant .
cooperate in the collection of a DNA sample if the collection of a

sample is so authorized by law.
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4, No Further Prosecution, Except Tax Charges. The United
States Attorney’s Office for the Middle District of Pennsylvania
agrees that it will not bring any other criminal charges against
the defendant directly arising out of the defendant's
involvement in the offenses described above. However, nothing

in this Agreement will limit prosecution for criminal tax
charges, if any, arising out of those offenses.

B. Fines and Assessments
5. Fine. The defendant understands that the Court may impose a

fine pursuant to the Sentencing Reform Act of 1984. The willful
failure to pay any fine imposed by the Court, in full, may be

.. considered a breach of this Plea Agreement. Further, the
defendant acknowledges that willful failure to pay the fine may

subject the defendant to additional criminal violations and civil
penalties pursuant to Title 18, United States Code, § 3611, et
seq.

6. Alternative Fine, The defendant understands that under the “

alternative fine section of Title 18, United States Code, § 3571,
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the maximum fine quoted above may be increased if the Court
finds that any person derived pecuniary gain or suffered
- pecuniary loss from the offense and that the maximum fine to
be imposed, if the Court elects to proceed in this fashion, could
be twice the amount of the gross gain or twice the amount of the
gross loss resulting from the offense.
7. Inmate Financial Responsibility Program. If the Court orders a-
fine or restitution as part, of the defendant’s sentence, and the
sentence includes a term of imprisonment, the defendant agrees
- to voluntarily enter the United States Bureau of Prisons-
administered program known as the Inmate Financial
_Responsibility Program, through which the Bureau of Prisons
will collect up to 50% of the defendant’s prison salary, and up to
50% of the balance of the defendant's inmate account, and apply
‘that amount on the defendant’s behalf to the payment of the
outstanding fine and restitution orders.
8. Special Assessment The defendant understands that the Court

will impose a special assessment of $100, pursuant to the —
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provisions of Title 18, United States Code, § 3013. No later

than the date of sentencing, the defendant or defendant's

counsel shall mail a check in payment of the special assessment
directly to the Clerk, United States District Court, Middle

District of Pennsylvania. If the defendant intentionally fails to

make this payment, that failure may be treated as a breach of

this Plea Agreement and may result in further prosecution, the
. filing of additional criminal charges, or a contempt citation. —

9. Collection of Financial Obligations. In order to facilitate the
collection of financial obligations imposed in connection with
this case, the defendant consents and agrees: :

a. to fully disclose all assets in which the defendant has an
interest or over which the defendant has control, directly or
indirectly, including those held by a spouse, nominee, or >

- other third party;
b. to submit to interviews by the Government regarding the

defendant’s financial status;
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c. ‘to submit a complete, accurate, and truthful financial
statement, on the form provided by the Government, to the
United States Attorney's Office no later than 14 days c
following entry of the guilty plea;

d. whether represented by counsel or not, to consent to contact —
by and communication with the Government, and to waive
any prohibition against communication with a represented ©
party by the Government regarding the defendant’s
financial status; _

_e. , to authorize the Government to obtain the defendant’s
. credit reports in order to evaluate the defendant's ability to
.. satisfy any financial obligations imposed by. the Court; and
~f to submit any financial information requested by the
Probation Office as directed, and to the sharing of financial
information between the Government and the Probation

Office.
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C. Sentencing Guidelines Calculation
10. Determination of Sentencing Guidelines. The defendant and
counsel for both parties agree that the United States Sentencing
Commission Guidelines, which took effect on November 1, 1987,
and its amendments (the “Sentencing Guidelines”), will apply to
the offense or offenses to which the defendant is pleading guilty.
The defendant understands that the Sentencing Guidelines are
advisory and not binding on the Court. The defendant further
agrees that any legal and factual issues relating to the
application of the Sentencing Guidelines to the defendant’s
conduct, including facts to support any specific offense
characteristic or other enhancement or adjustment and the
appropriate sentence within the statutory maximums provided
for by law, will be determined by the Court after briefing, a pre
sentence hearing, or a sentencing hearing.
11. Acceptance of Responsibility— ‘Two/Three Levels. If the
defendant can adequately demonstrate recognition and

affirmative acceptance of responsibility to the Government as
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required by the Sentencing Guidelines, the Government will
recommend that the defendant receive a two- or three-level

. reduction in the defendant’s offense level for acceptance of

~ responsibility. The third level; if applicable, shall be within the
discretion of the Government under U.S.S.G. § 3E1.1. The
failure of the Court to find that the defendant is entitled to a
reduction shall not be a basis-to void this Agreement.

12. Specific Sentencing Guidelines Recommendations. With respect.
to the application of the Sentencing Guidelines to the

defendant’s conduct, the parties agree to recommend as follows:
Each party reserves the right to make whatever remaining
arguments it deems appropriate with regard to application of
the United States Sentencing Commission Guidelines to the
defendant’s conduct. The parties agree that a sentence within
this range of the Sentencing Guidelines is a reasonable sentence
under the facts and circumstances of this case. Under U.S.S.G.
§2B1.5(a) and §2X1.1, the Base Offense Level is 8. Under

U.S.S.G. §2B1.5(b)(1)(B)(1), the value of the cultural heritage
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resources exceeded $6,500 and the offense level will be
increased by the number of levels from the table in U.S.S.G.
§2B1.1 corresponding to the value of the “objects of cultural
heritage” relevant to the defendant’s conduct. Under U.S.S.G.
_ §2B1.5(b)(4), there is a 2-level enhancement of the offense level
because the offense was committed for pecuniary gain. Under
USSG. §3B1.2(b), there is a 2-level reduction in the offense
level because the defendant was a minor participant in the
conspiracy. The defendant understands that any
recommendations are not binding upon either the Court or the
United States Probation Office, which may make different
findings as to the application of the Sentencing Guidelines to
the defendant’s conduct. The defendant further understands
that the United States will provide the Court and the United
States Probation Office all information in its possession that it
deems relevant to the application of the Sentencing Guidelines

to the defendant’s conduct.

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D. Sentencing Recommendation . . a

13. Appropriate Sentence Recommendation. At the time of

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sentencing, the United States may make a recommendation

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‘that it considers appropriate. based upon the nature and

circumstances of the case and the-defendant’s participation in
the offense, and specifically reserves the right to recommend a
sentence up to and including the maximum sentence of
imprisonment and fine allowable, together with the cost of :
prosecution. ‘
Special Conditions of Probation/Supervised Release. If .

probation or a term of supervised release is ordered, the United

‘States may recommend that the Court impose one or. more

- special conditions, including but not limited to the following:

a.. The defendant be prohibited from possessing a firearm or

other dangerous weapon.
b. The defendant make restitution, if applicable, the payment:
of which shall be in accordance with a schedule to be

determined by the Court.
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c. The defendant pay any fine imposed in accordance with a

schedule to be determined by the Court.

d. . The defendant be prohibited from incurring new credit
charges or opening additional lines of-credit without .
approval of the Probation Office unless the defendant is in

- compliance with the payment schedule.

e. - The defendant be directed to provide the Probation Office
and the United States Attorney access to any requested
financial information, oe

f. The defendant be confined ina community treatment
center, halfway house, or similar facility.

. ‘g The defendant be placed under home confinement. .

-h. The defendant be ordered to perform community service.

i. The defendant be restricted from working in certain types of .
occupations or with certain individuals if the Government

- deems such restrictions to be appropriate.

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j. - The defendant be directed to attend substance abuse
counseling, which may include testing to determine whether
the defendant is using drugs or alcohol.

k. The defendant be directed to attend psychiatric or
psychological counseling and treatment in a program
approved by the Probation Officer.

l. The defendant be denied certain federal benefits including
contracts, grants, loans, fellowships, and licenses. —

wm. The defendant be directed to pay any state or federal taxes

. and file any and all state and federal tax returns as -
required by law.

_ E. Victims’ Rights and Restitution © me
15. Victims’ Rights. The defendant understands that pursuant to
the Victim and Witness Protection Act, the Crime Victims’

Rights Act, the Justice for All Act, and the vegulations
‘promulgated under those Acts by the Attorney General of the
United States, crime victims have the following rights:

a. The right to be reasonably protected from the accused;
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b. The right to reasonable, accurate, and timely notice of any
public court proceeding or any parole proceeding involving
the crime, or of any release or escape of the accused; .

-¢. The right not to be excluded from any such public court .

proceeding, unless the Court, after receiving clear and

convincing evidence, determines that testimony by the
victim would be altered materially if the victim heard other
testimony at that proceeding;

d. The right to be reasonably heard at any public hearing in
the Court involving release, plea, sentencing, or any parole
proceeding. The defendant understands that the victims’ -

. comments.and recommendations at any of these proceedings
may be different than those of the parties to this
_ Agreement; _ . a

e. The reasonable right to confer with the attorney for the
Government in the case. The defendant understands that
the victims’ opinions and recommendations given to. the

‘attorney for the Government may be different than those
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presented by the United States as a consequence of this
Agreement;

f. The right to full and timely restitution as provided for by
law. The attorney for the Government is required to “fully
advocate the rights of victims on the issue of restitution
unless such advocacy would unduly prolong or complicate
the sentencing proceeding,” and the Court is authorized to
order restitution by the defendant including, but not limited
to, restitution for property loss, economic loss, personal
injury; or death;

g. The right to proceedings free from unreasonable delay; and

h. The right to be treated with fairness and with respect for
the victim’s dignity and privacy.

* 16. Restitution. The defendant acknowledges that, pursuant to the

Mandatory Restitution Act of April 24, 1996, Title 18, United

States Code, § 363A, the Court is required in all instances to
order full restitution to all victims for the losses those victims

~ have suffered as a result of the defendant’s conduct. The
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defendant also. agrees that the Government will seek, and the
Court may impose an order of restitution as to victims of the
defendant’s relevant conduct, ‘With respect to the payment of
restitution, the defendant further agrees that, as part of the
sentence in this matter, the defendant shall be responsible for
making payment of restitution in full, unless the defendant can
demonstrate to the satisfaction of the Court that the defendant's
economic circumstances do not allow for the payment of full
restitution in the foreseeable future, in which case the
defendant will be required to make partial restitution
payments. In addition to the schedule of payments that may be
established by the Court, the defendant understands and agrees
that, pursuant to the Mandatory Victims Restitution Act of
1996 and the Justice For All Act of 2004, victims of federal
crimes are entitled to full and timely restitution. As such, these
| payments do not preclude the Government from using other .
assets or income of the defendant to satisfy the restitution

obligation. The defendant understands and agrees that the
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United States Attorney’s Office, by and through the Financial
Litigation Unit, has the obligation and the right to pursue any
legal means, including but not limited to, submission of the debt
to the Treasury Offset Program, to collect the full amount of
restitution owed to the victims in a tirnely fashion. Although
the defendant may reserve the right to contest the amount of
restitution owed, the defendant agrees to take all steps to
facilitate collection of all restitution, including submitting to
debtor’s exams as directed by the Government. Towards this .
goal, the defendant agrees to waive any further notice of
forfeiture and agrees that the United States may, at its sole
election, elect to pursue civil or criminal forfeiture in the
amount of the victim restitution owed in this case, and the
Court may enter both a restitution order and a forfeiture

j udgment in the amount of any unpaid restitution found by the -
Court to be due and owing at the time of sentencing in this
matter. The defendant consents to the filing of any civil

complaint or superseding information which may be necessary’
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17.

to perfect a forfeiture order and further stipulates and agrees
that the defendant’s guilty plea constitutes an admission to all
matters legally and factually necessary for entry of a forfeiture
order in this case. The parties agree that the Government will
recommend, but cannot guarantee, that any assets recovered
through forfeiture proceedings be remitted to crime victims to
reduce the defendant's restitution obligation in this case. The
defendant acknowledges that the making of any payments does
not preclude the Government from using other assets or income
of the defendant to satisfy the restitution obligation. The
defendant understands that the amount of restitution
calculated for purposes of Chapter 5 of the Sentencing
Guidelines might be different from the amount of loss calculated

for purposes of Chapter 2 of the Sentencing Guidelines.

Full Restitution by Schedule. The defendant agrees to make

full restitution in accordance with a schedule to be determined

_ by the Court.

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F. Information Provided to Court and Probation Office
18. Background Information for Probation Office. The defendant
understands that the United States will provide to the United
‘States Probation Office all information in its possession that the
United States deems relevant regarding the defendant's
background, character, cooperation, if any, and involvement in

this or other offenses.

19. Objections to Pre-Sentence Report. The defendant understands

- that pursuant to the United States District Court for the Middle _

District of Pennsylvania’s “Policy for Guideline Sentencing,”
both the United States and defendant must communicate to the
Probation Officer within 14 days after disclosure-of the pre- -

- sentence report any objections they may have as to material
information, sentencing classifications, applicable Sentencing
Guidelines ranges, and policy statements contained in or

, omitted from the report. The defendant agrees to meet with the

United States at least five days prior to sentencing ina good

faith attempt to resolve any substantive differences. If any
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issues remain unresolved, they shall be communicated to the »
Probation Officer for inclusion in an addendum to the pre-
sentence report. The defendant agrees that unresolved
substantive objections will be decided by the Court after
briefing, a pre-sentence hearing, or at the sentencing hearing,
where the standard or proof will be a preponderance of the
evidence, and the Federal Rules of Evidence, other than with
respect to privileges, shall not apply under Fed. R. Evid.
1101(a)(8), and the Court may consider any reliable evidence,
including hearsay. Objections by the defendant to the pre-
sentence report or the Court’s rulings, will not be grounds for
withdrawal ofa plea of guilty.

20. Relevant Sentencing Information. At sentencing, the United —
States will be permitted to bring to the Court’s attention, and
the Court will be permitted to consider, all relevant information
about the defendant's background, character and conduct,
including the conduct that is the subject of the charges that the

United States has agreed to dismiss, and the nature and extent
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of the defendant's cooperation, if any. The United States will be
entitled to bring to the Court's attention and the Court will be
entitled to consider any failure by the defendant to fulfill any
obligation under this Agreement.
21. Non-Limitation on. Government's Response. Nothing in this
Agreement shall restrict or limit the nature or content of the
United States’ motions or responses to any motions filed on
behalf of the defendant. Nor does this Agreement in any way
restrict the Government in responding to any request by the
Court for briefing, argument or presentation of evidence
regarding the application of Sentencing. Guidelines to the
defendant's conduct, including but not limited to, requests for
information concerning possible sentencing departures.
G. Court Not Bound by Plea Agreement
22. Court Not Bound by Terms. The defendant understands that
the Court is not a party to and is not bound by this Agreement,
or by any recommendations made by the parties. Thus, the

Court is free to impose upon the defendant any sentence up to -
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and including the maximum sentence of imprisonment for five

years, a fine of $250,000, a maximum term of supervised release
of up to three years, which shall be served at the conclusion of '
and in addition to any term of imprisonment, the costs of
prosecution, denial of certain federal benefits, and assessments :
totaling $100.

23. No Withdrawal of Plea Based on Sentence or Recommendations.
If the Court imposes a sentence with which the defendant is
dissatisfied, the defendant will not be permitted to withdraw .
any guilty plea for that reason alone, nor will the defendant be

permitted to withdraw any guilty plea should the Court decline
to follow any recommendations by any of the parties to this
. Agreement.

HL Breach of Plea Agreement by Defendant

OA, Breach of Agreement, In the event the United States believes
the defendant has failed to fulfill any obligation under this
Agreement, then the United States shall, in its discretion, have

the option of petitioning the Court to be relieved of its
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obligations under this Agreement. Whether the defendant has

completely fulfilled all of the obligations under this Agreement

_ shall be determined by the Court in an appropriate proceeding,
during which any disclosures and documents provided by the
defendant shall be admissible, and during which the United .
States shall be required to establish any breach by a
preponderance of the evidence. In order to establish any breach
by the defendant, the United States is entitled to rely on
statements and evidence given by the defendant during the
cooperation phase of this Agreement, if any.

"25. Remedies for Breach. The defendant and the United States
agree that in the event the Court concludes that the defendant
has breached the Agreement:

a. The defendant will not be permitted to withdraw any guilty
plea tendered under this Agreement and agrees not to

_ petition for withdrawal of any guilty plea;

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b. The United States will be free to make any .
recommendations to the Court regarding sentencing in this
case;

Cc. Any evidence or statements made by the defendant during
the cooperation phase of this Agreement, if any, will be
admissible at any trials or sentencings:

a The United States will be free. to bring any other charges it
has against the defendant, including any charges originally
brought against the defendant or which may have been
under investigation at the time of the plea. The defendant
waives and hereby agrees not to raise any defense to the
reinstatement of these charges based upon collateral.
estoppel, Double J eopardy, statute of limitations, assertion

_of Speedy Trial rights, or other similar grounds.
26. Violation of Law While Plea or Sentence Pending. The
defendant understands that it is a condition of this Agreement
that the defendant refrain from any further violations of state,

local, or federal law while awaiting plea and sentencing. The
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defendant acknowledges and agrees that if the Government
receives information that the defendant has committed new
crimes while awaiting plea or sentencing in this case, the

~ Government may petition the Court and, if the Court finds by a |
preponderance of the evidence that the defendant has
committed any other criminal offense while awaiting plea or
sentencing, the Government shall be free at its sole election to
either: (a) withdraw from this Agreement}.or (b) make any
sentencing recommendations to the Court that it deems
appropriate. The defendant further understands and agrees
that, if the Court finds that the defendant has committed any .
other offense while awaiting plea or sentencing, the defendant
will not be permitted to withdraw any guilty pleas tendered
pursuant to this Agreement, and the government will be
permitted to bring any additional charges that it may have

against the defendant.

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I. Appeal Waiver

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Appeal Waiver _ Direct. The defendant is aware that Title 28,
United States Code, § 1291 affords a defendant the right to
appeal a judgment of conviction and sentence; and that Title 18,
United States Code, § 3742(a) affords a defendant the right to
appeal the sentence imposed. Acknowledging all of this, the

defendant knowingly waives the right to appeal the conviction

‘and sentence. This waiver includes any and all possible

grounds for appeal, whether constitutional or non-
constitutional, including, but not limited to, the manner in
which that sentence was determined in light of United States v.
Booker, 543 U.S. 220 (2005). The defendant further
acknowledges that this appeal waiver is binding only upon the
defendant and that the United States retains its right to appeal
in this case.

Collateral Appeal Waiver. The defendant acknowledges,

understands and agrees that, by pleading guilty pursuant to

this Agreement, the defendant voluntarily and knowingly
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waives the right to collaterally attack the defendant’ s
conviction, sentence, or any other matter relating to this
prosecution, including but not limited to a motion to vacate
judgment under Title 28, United States Code, Section 22553 a
petition for a writ of habeas corpus under Title 28, United
States Code, Section 2241; or any other motion or writ seeking
collateral relief. However, no provision of this agreement shall
preclude the defendant from pursuing in an appropriate forum
any appeal, collateral attack, writ, or motion claiming that the
_ defendant received constitutionally ineffective assistance of
counsel. In the event the defendant raises a claim of ineffective
assistance of counsel, the defendant hereby agrees (a) that the |
Government retains its right to oppose any such claim on
procedural or substantive grounds; and (b). that counsel for the

United States may confer with any of the defendant’s prior

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counsel whose performance is attacked in such a claim, for

purposes of preparing any response or for any hearing ©

necessitated by the filing of such a’claim. . _f
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29. Appeal Waiver Breach. The defendant acknowledges that

‘pursuing a direct appeal or any collateral attack waived in the

. preceding paragraph(s) may constitute a breach of this

_ Agreement. The Government agrees that the mere filing ofa
notice of appeal is not a breach of the Agreement. The
- Government may declare a breach only after the defendant or
the defendant’s counsel thereafter states, either orally or in
writing, a determination to proceed with an appeal or collateral

- attack raising an issue the Government deems barred by the
waiver. The parties acknowledge that the pursuit of an appeal
or any collateral attack constitutes a breach only if a court
determines that the appeal or collateral attack does not present
an issue that a judge may reasonably conclude is permitted by
an exception to the waiver stated in the preceding paragraph(s)
or constitutes a “miscarriage of justice” as that term is defined

in applicable law.

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Other Provisions .

+30. Agreement Not Binding on Other Agencies. Nothing in this
Agreement shall bind any other United States Attorney’s Office,
state prosecutor’s office, or federal, state, or local law

enforcement agency.

“81. No Civil Claims or Suits. The defendant agrees not to pursue or
initiate any civil claims or suits against the United States of
America, its agencies or employees, whether or not presently
known to the defendant, arising out of the investigation,

prosecution or cooperation, if any, covered by this Agreement,
including but not limited to any claims for attorney’s fees and
other litigation expenses arising out of the investigation and
prosecution of this matter. By the defendant's guilty plea in
this matter the defendant further acknowledges that the
Government’s position in this litigation was taken in good faith,

_had a substantial basis in law and fact and was not vexatious.

32. Plea Agreement Serves Ends of J ustice. The United States is

.entering this Agreement with the defendant because this

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disposition of the matter fairly and adequately addresses the
gravity of the offenses from which the charges are drawn, as
well as the defendant's role in such offense(s), thereby serving
the ends of justice.

33. Merger of Ali Prior Negotiations: This document states the
complete and only Agreement between the United States ©
Attorney for the Middle District of Pennsylvania and the
defendant i in this case, and is binding only on the parties to this

oo Agreement and supersedes all prior understandings or. plea
offers, whether written or oral. This agreement cannot be
modified other than in writing that is signed by all parties or on
the record in court. No other promises or inducements have
been or will be made to the defendant in connection with this
case, nor have any predictions or threats been made in
connection with this plea. Pursuant to Rule 11 of the Federal
Rules of Criminal Procedure, the defendant certifies that the

defendant’ 8 plea i is knowing and voluntary and i is not the result

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of force or threats or promises apart from those promises set
forth in this Agreement.

34, Defendant is Satisfied with Assistance of Counsel. The
Defendant agrees that the defendant has discussed this case
and this Agreement in detail with the defendant’s attorney, who
has advised the defendant of the defendant’s Constitutional and

‘other trial and appellate rights, the nature of the charges, the
elements of the offenses the United States would have to prove
at trial, the evidence the United States would present at such
trial, possible defenses, the advisory Sentencing Guidelines and
other aspects of sentencing, potential losses of civil rights and .

privileges, and other potential consequences of pleading guilty
in this case. The defendant agrees that the defendant is
satisfied with the legal services and advice provided to the
defendant by the defendant's attorney.

35. Deadline for Acceptance of Plea Agreement. The original of this
Agreement must be signed by the defendant and defense

counsel and received by the United States Attorney’s Office on
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or before 5:00 p:m., June 2, 2023, otherwise the offer may, in the
sole discretion of the Government, be deemed withdrawn.

36. Required Signatures. None of the terms of this Agreement shall

 

be binding on the Office of the United States Attorney for the
Middle District of Pennsylvania until signed by the defendant
and defense counsel and then signed by the United States

Attorney or his designee.

ACKNOWLEDGMENTS

I have read this agreement and carefully reviewed every part of it
with my attorney. I fully understand it and I voluntarily agree to it.

Maya C2623 : Owindoti

. Date - Mu TROTTA
Defendant

I am the defendant’s counsel. I have carefully reviewed every part
of this agreement with the defendant. y knowledge, my client’s -
decision to enter into this agreemetit is an thfornt Ben LC. voluntary one.

oe May

Date

 
  

 

d: poe D’ANDREA

Counsel for Defendant

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GERARD M. KARAM
United States Attorney

Fla ord - - By: Ips
Date | : J BUCHANAN

. Assistant United States Attorney

   

 

JMB/2020R00250/May 10, 2023 -
VERSION DATE: March 8, 2021 |

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